                                   Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 1 of 39 PAGEID #: 3438
                                                                Student Resource Center, LLC
                                                                                            EGCC Expense Reimbursement Report



     T:a;~         Date             Num                     Name                                            Memo                                Account            cu..   Amount           4 ~ear Allocatio n           Net Owed            35.0%
General Journal   0812412022 813          Paychex                                Payroll. Fees, & Taxes                               Salaries. Call Center     EGCC             35,00                          12.25             22,75
General Journal   0811212022 816          Paychex                                Payroll, Fees, & Taxes                               Salaries • Call Center    EGCC        133,821.83                   46 ,837.64         86,984.19
General Journal   0811212022 816          Paychex                                Payroll, Fees, & Taxes                               Salaries • Call Center    EGCC        57 ,095.48                   19,983.41          37,112.05
General Journal   08112/2022 816          Paychex                                Payroll, Fees, & TaxH                                S1l1ries • Call Center    EGCC          6,487.08                    2,270.48           4,216.60
General Journal   0811212022 816          Paychex                                PayroH, Fees, & Taxes                                S1lart11 • Call Center    EGCC          1,259. 14                     440,70            818.44
General Journal   08/1212022 816          Paychex                                Payroll, Fett, & TaxH                                Insurance• Workers Comp   EGCC           157.33                           55.07         102.26
General Journal   0811212022 816          Paychex                                Payroll, Fees, & Taxes                               PayroN Service Fet1       EGCC          1,450.24                      507.58            942,66
General Journal   0812612022 8117         FedEx                                  Relum of -4 Laptops from EGCC Staff                  Postage                   EGCC             78,83                                            78.83
General Journal   08/2612022 8117         FedEx                                  Ovemight 1hipment • Replacement computer to Adam,    Postage                   EGCC           119.93                                         119.93
General Journal   08/2912022 825          Paychex                                Payroll, Fee1, & Taxes                               S1larl11 • Call Center    EGCC               10.31                         3.61              6.70
General Journal   08/3112022 823          Paychex                                Payroll, Fees, & Taxes                               Salaries • Call Center    EGCC           114.44                           40.05             74.39
Check             08/3112022 aeh          Washington State Department or Labor   02 Workers Comp Insurance                            Insurance• Workers Comp   EGCC             26.24                          9.18               17.06
Check             09/0112022 ach          Voice Data System                      Telephone SeMCe                                      RI Te..phone              EGCC          2,264.20                                       2,264.20
General Journal   09/0212022 824          ez. Texting                            Monthfy Subscription. M11n Account                   Computer . TeX1ing        EGCC          2,700.00                                       2,700.00
General Journal   0910212022 824          EZ-Textlng                             Monthly Sub1cription • Sut>-,Account                 Computer . Textlng        EGCC             25.00                                            25,00
General Journal   0910212022 824          FedEx                                  1 Laptop Return Shipment to SRC                      Postage                   EGCC             39.82                                            39,82
General Journal   09/0212022 824          FedEx                                  1 Laptop Relurn Shipment to SRC                      Postage                   EGCC             35.25                                            35.25
General Journal   09/0212022 824          FedEx                                  2 Laptop Return Request Boxes Sent to Employees      Postage                   EGCC             36.83                                            36.83
General Journal   09/0212022 824          Youcanbookme                           September• Mauela Rosa Account                       Computer • Calendar       EGCC               7.00                                             7.00
General Journal   09/0212022 824          Amazon                                 Replacement Headphone. Cody Gonzalez                 Computer . Harware        EGCC             41 . 12                                          41.12
General Journal   09/0212022 824          GoOaddy                                Mk:rosoft Ma~ Account (1 ., Month Subscription)      CRM & Websites            EGCC             16.95                                             16.95
General Journal   09/0212022 824          GoOaddy                                Mk::roaoft Mau Account (2 ., Month Subscription)     CRM & Web11tes            EGCC             13,76                                             13.76
General Journal   09/0212022 824          GoOaddy                                Mk:ro1oft Mail Account ( 1 • 1 Mon1h Subscription)   Computer • Software       EGCC               7.41                                             7.41
General Journal   09/0212022 824          GoDaddy                                Microsoft Mail Account (1 •1 Month Subscription)     Computer• Software        EGCC               6.35                                            8.35
Check             0910212022 ach          Principal Insurance                    September 2022 Dental & Vision                       ln1urance • Dental        EGCC          4,607.47                    1,612.61           2,994.86
Check             09/06/2022 aeh          Starmtrk Insurance                     September 2022 Medical                               Insurance• Medlcal        EGCC        47 ,553.08                   16,643.58          30,909.50
                                                                                                                                                                           258,010.07                    88,416.17         169,593.90




                                                                                                                                                                                                                                    DEFENDANT'S
                                                                                                                                                                                                                                      EXHIBIT
                                                                                                                                                                                                                              j            C..C.,

                                                                                                                                                                                                                               sRc 660Boos1
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 2 of 39 PAGEID #: 3439




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
Tluchowski, Nathan        Admission Counselor
Turner, Marcus            Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC 00000051.2
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 3 of 39 PAGEID #: 3440




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
Jackson, DaJahna          Academic Advisor
Jennings, Candi           Academic Advisor PT
Keaney, Patrick           Academic Advisor
Ketterer, Erika           VP, Student Operations
Macedo, Christian         Director, Enrollment Services
Norman, Emily             Academic Advisor - PT
Rainey, Thomas            IT Specialist
Rawlings, Kimberleigh     Director, Accounting
Retelle, Cecilia          Chief Operating Officer
Reyes Mateo, Nelsy G      Academic Advisor
Reyes, Pamela             Verification Specialist Union
Rosa, Luis                General Manager
Rosa, Manuela             Director, Community Partnership
Sanders, Shane            Academic Advisor
Schatsch neider, Peter    SVP Marketing
Schlesinger, Julie        Verification Specialist Union-SAL
Simmons, Laquondra        Academic Advisor
Sims, Jason               Director, Financial Services
Stickles, Melissa M       Admission Counselor
Sweeney, Mary             Admission Counselor
Tluchowski, Nathan        Admission Counselor
Turner, Marcus            Academic Advisor
Veiga, Joao               Academic Advisor
Weilbacher, Rebecca       Director, Marketing
Wynne, Stephen            VP Finance




                                                                       SRC 00000051.3
                                       Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 4 of 39 PAGEID #: 3441
                                                                     Student Resource Center, LLC
                                                                                                           EGCC Expense Reimbursement Report



      TH:            Date              Num             Name                                  Memo                                   Account                Clan   Amount          4 r;ear Allocallon           N•t OW.d          35.0% Before Red uction in For ce
Check               09/08/2022 ach           Mad'l'lltre            September CRM Service                              CRM & Weblhea                     EGCC        1,499.05                                       1.499.0S     55.0% After Reduction in Force
General Journal     09/08/2022 828           GoOaddy                Microsoft Mall Account (2 -1 Momh Subsa1ption)     Computer • Software               EGCC          19.29                                           19.29
General Journal     09/08/2022 828           FedEx                  Return of 1 up(op from EGCC Slaff                  Postage                           EGCC          35.25                                           35.2S
Gene, al Journal    09/08/2022 828           FedEx                  Return 012 Laptops from EGCC Staff                 Postage                           EGCC          77.16                                           77.16
General Journal     09/08/2022 828           FedEx                  Return of 1 Laplop from EGCC Staff                 Postage                           EGCC          29.05                                           29.05
General Journal     09/09/2022 827           Paychex                Payrol, Fees, & Taxes                              Solariet - Call Center            EGCC      133,853.79                  46,848.83           87,0006
General Journal     09/09/2022 827           Paychex                Payrol, Fees, & Taxn                               Salaf1es - CaU Center             EGCC       54,790.83                   19,176.79          35,614.04
General Jou rnal    09109/2022 627           Paychex                Payrol, Fees, & Taxn                               Salaries - Call Center            EGCC        6,51'.15                    2.279.95           4.234.20
General Journal     09/09/2022 827           Paychex                Payrol. Fees, & Taxes                              Sal.arfff - Call Center           EGCC         978.48                       342,46            6Je,OO
General Joumal      09/09/2022 827           Paychex                Payrol, Fees, & Taxes                              Insurance - Workers Comp          EGCC         151.98                           53.HI           98.79
General Journal     09/09/2022 627           Paychex                Payroll, Fees, & Tues                              Payrol SeNlce Feet                EGCC        1,535.14                      537.30            997.84
General Journal     09/13/2022 8/29          Paychex                Payrol, FeH, & TaxH                                Salaries - Call Center            EGCC       42,319.02                   14,811 .68         27,5-07.36
General Jou rnal    09/13/2022 8/29          Paychex                Payrol, Fees, & Taxn                               Sa~r111- Call Cen1or              EGCC       15,130.75                    5.295.78           9,834.99
General Journal     09/13/2022 8/29          Paychex                Payrol, FeH, & Taxes                               Satartes - Call Center            EGCC        1,771.10                      819.69           1,151.22
General Journa l    09/1 312022 8/29         Paychex                Payrol, FeH, & Taxes                               lnturance - Worker1 Comp          EGCC          45.22                           15.83           29.39
General Journa l    09/14/2022 830           Paychex                Payrol, Fees, & Taxet                              Salartn - Call Cen1er             EGCC         114.31                           40.01           74.30
General Journa l    09/Hl/2022 831           GoOaddy                Microsoft MatlAc:count (l -1 Month Sublcrfption)   CRM& Websites                     EGCC           12.70                                          12.70
General Journa l    09116/2022 838           Payche:-:              September Retlrmen1 Se,vlce Fees                   Sal.arfH • PayroJI Service Fees   EGCC          93.76                           32.82           60.94
General Journa l    09/1612022 836           Paychex                September Cyber Insurance                          Insurance - Cyber                 EGCC          30.00                                           30.00
General Journa l    09/16/2022 832           Youcanbookmo           September - 4 Calendar1                            Compu1er - c,._nd,r               EGCC          28.00                                           28.00
Genera l Journal    09/18/2022 832           Youcanbookme           September- 2 Coktndars                             Compu1er - Ca~ndar                EGCC          20.00                                           20.00
Genera l Journa l   09/16/2022 832           Youcanbookme           September - 1e Calendars                           Computer- Caktndar                EGCC         100.61                                          100.81
General Journa l    09/1612022 832           FedEx                  3 Laptop Relurn Requett Boxes Sent to Employees    Postage                           EGCC          61.18                                           61.18
Check               09/1612022 ach           Christine P~uss        Union Verification September                       Call Center - Advising            EGCC         360.00                                          360.00
Check               0911612022 ach           Mad'Mre                August Sub-Account overage Charges                 CRM&Websftu                       EGCC              5.06                                           5.06
Check               09/16/2022 och           Mad'M,e                August Account Overage Charges                     CRM&We~et                         EGCC         301 .33                                         301.33
Check               09/16/2022 ach           Madwlre                September Sub-Account                              CRM& Websites                     EGCC         <lt\7.50                                        467.50
Genera l Journal    09119/2022 833           Paychex                Payrol. Foff. & Taxes                              Salaries - Call Center            EGCC          40.00                           22.00           18.00
Check               09/20/2022 ach           Selecti\le Insurance   September 2022                                     lnturance - Uabllty               EGCC         378.00                                          378.00
Genera l Journal    09/21/2022 823           Paychex                PayroN , Fees, & Taxes                             Salerln - Call Center             EGCC          35.00                           19.25           15.75
General Journal     09/23/2022 635           GoOaddy                Micro.oft Mall Account (3 Year Domafn Renewal}     CRM&Webolles                      EGCC          63.51                                           63.51
Genera l Journal    09/23/2022 835           FedEII                 1 Laptop Return Shipment to SRC                    Postage                           EGCC          29.72                                           29.72
Genera l Journal    04/18/1902 839           Paychex                PayroN. Fees, & TaxH                               Salarfu- Call Cenler              EGCC           10.~                            6.02              4.92
General Journal     09/23/2022 836           Paychex                Payrol, Feet, & Taxes                              Salarl&1 • Call Center            EGCC       76.602.88                  42.131.58           34.471.30
General Journal     09/23/2022 836           Paychex                Payrol, Fees, & Taxes                              Salaries - Call Cenler            EGCC       32,294.71                   17.762.09          14,532.62
General Journal     09/23/2022 636           Paychex                P11yrol, Fees, & Taxes                             Salarfas - Call Center            EGCC        3,987.91                    2.193.35           1.794.56
General Journal     09/23/2022 836           Paychex                Payrol, Fees, & Taxes                              SalarfK - Call Center             EGCC         978.48                       538.15             «0.31
General Joumal      09/23/2022 836           Paychex                Payrol, Fees, & TaxH                               Insurance - Workers Comp          EGCC           81,08                          44.59           36.49
General Jou,nal     09/23/2022 836           Paychex                Payrol, Fees, & Taxes                              PayroM Se,vlce Fees               EGCC          891.77                      490.47             401.30
                                                                                                                                                                   375.738.67                 153,261.99          222.47e.88




                                                                                                                                                                                                                                                 SRC_ 6'0i1Boos4
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 5 of 39 PAGEID #: 3442




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Kotterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC_00000054.2
                              Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 6 of 39 PAGEID #: 3443
                                                           Student Resource Center, LLC
                                                                                       EGCC Expense Reimbursement Report


      T;a:=        Date            Num              Name                                    Mem o                              Account                 Class   Amount           4 ;.:H r Allocatio n           Net Owed            55.0% 55.0%
General Journal   09/28/2022 847         Hubspot                  August AMocation                                   CRM & Websites                 EGCC           5,650.00                                         5,650.00
General Journal   09/28/2022 847         Voice Data Systems       August Cloud Allocation                            RI Telephone                   EGCC           5,393,36                                         5,393.36
Check             09/29/2022 ach         Voice Data Systems       Contact Center                                     RI Telephone                   EGCC             787.50                                           787.50
Chock             09/2912022 ach         IntegrateHQ              September Saas License Fee                         CRM & Website•                 EGCC             500.00                                           500.00
Check             09/30/2022 ach         Principal Insurance      October Dental & Vision                            lnsunance • Dental             EGCC             949.85                        522.42             427.43
General Journal   09/30/2022 856         EZ Tex1ing               October Account Subscription                       Computer/Internet - Tt xl!ng   EGCC                25.00                                          25.00
General Journal   09/30/2022 856         Youcanbookme             September • 1 Calendar                             Computer - Ca~ndar             EGCC                 7.00                                              7.00
General Journal   09/3012022 856         GoOaddy                  Microsoft Mall Account (1 -1 Month Subscription)   CRM & Websites                 EGCC                 7.41                                              7.41
General Journal   09/3012022 856         GoDaddy                  Microsoft Mail Account (1 -1 Month Subscription)   CRM & Websites                 EGCC                 6.35                                              6.35
General Journal   09130/2022 856         GoDaddy                  Microsoft Mail Account (1 •1 Month Subscription)   CRM & Websites                 EGCC                 7.41                                              7.41
General Journal   09130/2022 856         GoDaddy                  Microsoft Mail Account (Domain Renewal)            CRM & Websites                 EGCC              48.98                                               48.98
General Joumal    09/30/2022 857         USI Insurance Services   Re1um of Insurance Premium                         Insurance • Cyber              EGCC            (176.48)                                         ( 176.48)
Check             10/03/2022 ach         Starmark                 October Medical                                    Insurance - Health             EGCC         42,998.12                      23,848.97          19,3◄9. 15

General Journal   10/04/2022 860         Paychex                  Tax w.2 Correction Invoice                         Payroll Processing Fee         EGCC                15.00                           8.25               6.75
General Journal   10/0512022 859         Paychex                  P ayroll, Fees, & Taxes                            Salaries - Call Center         EGCC             152.20                            83.71           68.49
General Journal   10105/2022 859         Paychex                  Payroll, Fees, & Taxes                             Salaries - Call Center         EGCC           1,120.00                        616.00             504.00
Chock             10/06/2022 ach         Voice Data Systems       Telephone Service                                  RI Telephone                   EGCC           1,341.90                                         1,341.90
Check             10/0612022 ach         O PEIU Local 792         August & September                                 Union Dues                     EGCC           3,124,00                                         3.124.00
General Journal   10/07/2022 865         Paychex                  Payroll, Fees, & Taxes                             Salaries - Call Center         EGCC                48.06                          26.43           21.63
General Journal   10/07/2022 864         GoDaddy                  Microsoft Mail Account (6 •1 Month Subscription)   CRM & Websites                 EGCC              50.80                                               50.80
General Journal   09123/2022 836         Paychex                  Payroll, Fees, & Taxes                             Salaries - Call Center         EGCC          73,109.58                     40,210.27          32,899.31
General Journal   09/23/2022 836         Pay chex                 Payroll, Fees, & Taxes                             Salaries • Call Center         EGCC          31 ,096.78                    17,103.23          13,993.55
General Journal   09/23/2022 836         Pay chex                 Payroll, Fees, & Taxes                             Salaries• Call Center          EGCC           4,016.13                      2,208.87           1,807.26
General Joumal    09/23/2022 836         Paychex                  P ayroll, Fees, & Taxes                            Salaries - Call Center         EGCC             978.46                        538.15             440.31
General Journal   09/23/2022 836         Paychex                  P ayroU, Fees, & Taxes                             Insurance - Wori(ers Comp      EGCC              72.78                            40.03              32.75
General Joumal    09123/2022 836         Paychex                  PayroH, Faes, & Taxes                              Payroll Service Fees           EGCC             876.68                        482.17             394.51
                                                                                                                                                                 172,206.87                     85,488.50          86,718.37




                                                                                                                                                                                                                                  SRC _ Of>000057
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 7 of 39 PAGEID #: 3444




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Ketterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC_00000057.2
                            Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 8 of 39 PAGEID #: 3445
                                                        Student Resource Center, LLC
                                                                            EGCC Expense Reimbursement Report


     TXB:          Date            Num          Name                         Mem o                          A ccount           Class   Amount           4 xear Allo cation            Net Owed           55.0% 55.0%
General Journal   10/11/2022 867         Paychex               Payroll. Fees, & Taxes            Salaries - Call Center     EGCC             130.40                          71 .72              58.68
General Journal   10/14/2022 871         Paychex               October Premium                   Insurance - Cyber          EGCC              30.00                                          30.00
Check             10/14/2022 ach         Madwire               October                           CRM & Websites             EGCC           1,966.55                                        1.966.55
General Journal   10/14/2022 871         Paychex               October Retirement Service Fees   Payroll Service Fees       EGCC              87.84                                              87.84
General Journal   10/14/2022 872         Paychex               Payroll, Fees, & Taxes            Salaries - Call Center     EGCC              21.61                          11 .89               9.72
General Journal   10/14/2022 872         Paychex               Payroll, Fees, & Texes            Salaries - Call Center     EGCC              79.99                          43.99               36.00
Check             10/19/2022 ach         Selective Insurance   October Premium                   Insurance • Liabiility     EGCC             378.00                                          378.00
General Journal   10/21/2022 883         Paychex               Payroll, Fees, & Taxes            Salaries - Call Center     EGCC              95.88                          52.73               43.15
General Journal   10/21/2022 882         Youcanbookme          October - 4 Calendars Luis Rosa   Computer - Calendar        EGCC              28.00                                              28.00
General Journal   10/21/2022 884         Paychex               Payroll, Fees, & Taxes            Salaries • Call Center     EGCC          75,292.77                   41,411 .02          33,881.75
General Journal   10/21/2022 884         Paychex               Payroll, Fees, & Taxes            Salaries - Call Canter     EGCC          31 ,649.42                  17,407.18           14,242.24
General Journal   10/21/2022 884         Paychex               Payroll, Fees, & Taxes            Salaries - Call Center     EGCC           4,132.07                    2,272.64            1,859.43
General Journal   10/21/2022 884         Paychex               Payroll, Fees, & Taxes            Salaries - Call Center     EGCC             978.46                      538.15              440.31
General Journal   10/21/2022 884         Paychex               Payroll, Fees, & Taxes            Insurance - Workers Comp   EGCC                83.68                        46.02               37.66
General Journal   10/21/2022 884         Paychex               Payroll, Fees, & Taxes            Payroll Service Fees       EGCC             876.68                      482.17              394.51
General Journal   10/25/2022 878         Paychex               Payroll, Fees, & Taxes            Salaries - Call Center     EGCC                 6.76                         3.72                3.04
                                                                                                                                         115,838.11                   62,341.25           53,496.86
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 9 of 39 PAGEID #: 3446




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
Jackson, DaJahna          Academic Advisor
Jennings, Candi           Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Ketterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
Sanders, Shane            Academic Advisor
Schatschneider, Peter     SVP Marketing
Schlesinger, Julie        Verification Specialist Union-SAL
Simmons, Laquondra        Academic Advisor
Sims, Jason               Director, Financial Services
Stickles, Melissa M       Admission Counselor
Sweeney, Mary             Admission Counselor
Tluchowski, Nathan        Admission Counselor
Turner, Marcus            Academic Advisor
Veiga, Joao               Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC_00000060.2
                          Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 10 of 39 PAGEID #: 3447
                                                       Student Resource Center, LLC
                                                                           EGCC Expense Reimbursement Report


     T~e•          Date            Num             Name                    Memo                         Account             ClaH   Amount          4 :i;••r Allocation            Net Owed            80.0%
General Journal   10/26/2022 877         Hubspol               September Allocation           CRM & Websites             EGCC          5,650.00                    4,520.00            1,130.00
General Journal   10/2612022 877         Voice Data Systems    Seplember Cloud Allocation     RI Telephone               EGCC          5,393.36                    4,314.69            1,078.67
General Journal   10/26/2022 877         Slack                 September Allocation           Internet - Software        EGCC          3,217.50                    2,574.00             643.50
General Journal   10/2812022 890         GoDaddy               October Invoice                Internet • Software        EGCC               7.41                          5.93                1.48
General Journal   10/2812022 890         HelpJuice             October Invoice                Internet - Software        EGCC             69.17                          55.34               13.83
Check             10/28/2022 ach         Principal lnsUfance   November Dental & Vision       Insurance - Dentel         EGCC          1,396.03                    1,116.82             279.21
Check             10/2812022 ach         Voice Data Systems    Contact Center Modifications   RI Telephone               EGCC            507.50                      406.00              101 .50
Check             10/28/2022 ach         lnl9llraleHQ          October Saas License           CRM & Websites             EGCC            500.00                      400.00             100.00
Check             10/2812022 ach         Madwire               AMuel Website 360 License      CRM & Websites             EGCC            158.64                      126.91               31 .73
General Journal   11/01/2022 893         Paychex               Payroll, Fees, & Taxes         Salaries - Call Center     EGCC             56.26                          45.01               11 .25
General Journal   11/04/2022 895         Paychex               Payroll, Fees, & Taxes         Salerles - Call Center     EGCC         72,689.47                   58,151.58           14,537.89
General Journal   11/04/2022 895         Paychex               Payroll, Fees, & Taxes         Salaries - Call Center     EGCC         31 ,462.12                  25,169.70            6,292.42
General Journal   11/04/2022 895         Paychex               Payroll, Fees, & Taxes         Salaries - Call Center     EGCC          4,6 77.01                   3,741.61             935.40
General Journal   11/04/2022 895         Paychex               Payroll. Fees. & Taxes         Salaries - Call Center     EGCC            978.46                      782.77              195.69
General Journal   11/04/2022 895         Paychex               Payroll, Fees, & Taxes         Insurance - Workers Comp   EGCC             84.13                          67.30               16.83
General Journal   11104/2022 895         Paychex               Payroll, Fees, & Taxes         Payroll Service Fees       EGCC            976.68                      781 .34             195.34
Check             11/04/2022 ach         Madwire               November Invoice               CRM & Websites             EGCC          1,966.10                    1,572.88              393.22
Check             11/04/2022 ach         Voice Data Systems    October Invoice                RI Telephone               EGCC            507.71                      406.17              101.54
General Journal   11/07/2022 894         Paychex               Payroll, Fees. & Taxes         Salaries - Call Center     EGCC             35.00                          28.00                7.00
General Journal   11/0812022 897         Paychex               Payroll, Fees, & Taxes         Salaries - Call Center     EGCC             14.43                          11 .54               2.89
                                                                                                                                     130,346.98                  104,277.58           26,069.40
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 11 of 39 PAGEID #: 3448




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Kotterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thoma s          IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC_00000066.2
                           Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 12 of 39 PAGEID #: 3449
                                                        Student Resource Center, LLC
                                                                              EGCC Expense Reimbursement Report


     rie•          Date             Num          Name                            Memo                              Account           Class   Amou nt            4 ~•ar Allocation           Net Owed           80.0% 80.0%
General Journal   11/09/2022 898          Paychex               Payroll, Fees, & Taxes                 Salaries • Call Center     EGCC            102.53                            82.02              20,51
General Journal   11 /1412022 900         GoDaddy               Email Subscription• Monthly (1)        Internet • Software        EGCC                  6 ,35                        5.08               1.27
General Journal   11 /1412022 900         YouCanBookMe          Monthly Subscription • Calendars (7)   Calendars                  EGCC                 38,51                        30.81               7.70
General Journal   11/1812022 917          YouCanBookMe          Monthly Subscnption • Calendars (4)    Calendars                  EGCC             28.00                            22.40               5,60
General Journal   11/18/2022 916          Paychex               Payroll, Fees, & Taxes                 Salaries • Call Center     EGCC          70,860.54                    56,688.43          14,172.11
General Journal   11/18/2022 916          Paychex               Payroll, Fees, & Taxes                 Salaries • Call Center     EGCC          30,476.90                    24,381.52           6,095.38
General Journal   11/18/2022 916          Paychex               Payroll, Fees, & Taxes                 Salaries • Call Center     EGCC           4,603.05                     3,682.44             920.61
General Journal   11/18/2022 916          Paychex               Payroll, Fees, & Taxes                 Salaries • Call Center     EGCC            978.46                        782,77             195.69
General Journal   11118/2022 916          Paychex               Payroll, Fees, & Taxes                 Insurance • Workers Comp   EGCC                 84.12                        67.30              16.82
General Journal   11/18/2022 916          Paychex               Payroll, Fees, & Taxes                 Payroll Service Fees       EGCC             356.16                       284.93                 71.23
Check             1112112022 ach          Selective Insurance   November Premium                       Liability Insurance        EGCC             378.00                       302.40                 75.60
General Journal   11122/2022 920          Paychex               Payroll, Fees, & Taxes                 Salaries • Call Center     EGCC             505.00                       404.00             101.00
General Journal   1112212022 920          Paychex               Payroll, Fees, & Taxes                 Salaries • Cell Center     EGCC                  6,36                         5,09               1.27
                                                                                                                                               108,423.98                    86,739.18          21,684.80




                                                                                                                                                                November                      21,684.80
                                                                                                                                                                                              21,684.80
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 13 of 39 PAGEID #: 3450




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Kotterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC_00000063.2
                          Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 14 of 39 PAGEID #: 3451
                                                       Student Resource Center, LLC
                                                                          EGCC Expense Reimbursement Report


        T~e•       Date            Num             Name                    Memo                         Account             Class   Amount          4 ~ear Allocation           Net Owed           80.0% 80.0%
General Journal   11/17/2022 912         Hubspot               October Allocation             CRM & Websites             EGCC          5,650.00                   4 ,520.00          1,130.00
General Journal   11/17/2022 912         Voice Data Systems    October Cloud Allocation       RI Telephone               EGCC          5,393.36                   4 ,314.69          1,078.67
Slack             11/17/2022 912         Voice Data Systems    October Allocation             Internet . Software        EGCC          1,072.50                     858.00             214.50
General Journal   11/23/2022 921         Paychex               Payroll, Fees, & Taxes         Salaries• Call Center      EGCC            20.71                          16.57              4.14
Check             11/25/2022 ach         Principal Insurance   December Dental & Visions      Insurance • Dental         EGCC          2,196.47                   1.757.18             439.29
General Journal   11/25/2022 922         GoDaddy               3 Year Domain Renewal          Internet • Software        EGCC            63.51                          50.81              12.70
Check             11/2812022 ach         Starmark              December Medical               Insurance • Healthcare     EGCC         14,167.64                  11 ,334.11          2,833.53
Check             11/29/2022 ech         lntegreteHQ           Monthly Saas License           CRS & Websites             EGCC           500.00                      400.00             100.00
Check             11/29/2022 ach         Voice Data Systems    Monthly usage Fees             RI Telephone               EGCC           481.96                      385.57              96.39
General Journal   12/02/2022 926         Paychex               Payroll, Fees. & Taxes         Salaries - Cell Center     EGCC         64,105.20                  51 ,284.16         12,821.04
General Journal   12/02/2022 926         Paychex               Payroll, Fees, & Taxes         Salaries • Call Center     EGCC         30,060.63                  24,048.50           6,012.13
General Journal   12/02/2022 926         Paychex               Payroll, Fees, & Taxes         Salaries • Call Canter     EGCC          8,854.73                   7,083.78           1,770.95
General Journal   12/02/2022 926         Paychex               Payroll, Fees. & Taxes         Salaries • Call Center     EGCC           978.46                      782.77             195.69
General Journal   12/02/2022 926         Paychex               Payroll, Fees, & Taxes         Insurance - Workers Comp   EGCC             81.23                         64.98              16.25
General Journal   12/02/2022 926         Paychex               Payroll, Fees, & Taxes         Payroll Service Fees       EGCC           843.00                      674.40             168.60
General Journal   12/02/2022 929         EZ-Texting            Monthly Subscription           Internet. Textlng          EGCC             25.00                         20.00               5.00
General Journal   12/02/2022 929         HelpJuice             Monthly Subscription           Internet . Software        EGCC            120.00                         96.00              24.00
General Journal   12/02/2022 929         GoDaddy               Monthly Subscription • Email   Internet - Software        EGCC                7.41                        5.93               1.48
General Journal   12/0212022 929         GoDaddy               Monthly Subscription. Email    Internet . Software        EGCC                7.41                        5.93               1.48
General Journal   12/0212022 929         GoDaddy               1 Year Domain Renewal          Internet• Software         EGCC             31.16                         24.93               6.23
General Journal   12/05/2022 928         Paychex               Payroll, Fees, & Taxes         Salaries - Call Center     EGCC                7,35                        5.88               1.47
General Journal   12/06/2022 930         Paychex               Payroll, Fees. & Taxes         Salaries • Call Center     EGCC            149.29                     119.43                 29.86
                                                                                                                                     134,817.02                 107,853.62          26,963.40
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 15 of 39 PAGEID #: 3452




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Kotterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC_00000072.2
                           Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 16 of 39 PAGEID #: 3453
                                                        Student Resource Center, LLC
                                                                             EGCC Expense Reimbursement Report

     TX£&          Date            Num          Name                         Memo                               Account               Class   Amount          4   ~••r Allocation            Net Owed            80.0% 80.0%
General Journal   12/08/2022 932         Paychex              Payroll, Fees, & Taxes               Salaries • Call Center          EGCC            147.65                       118.12               29.53
General Journal   12/09/2022 933         GoOaddy              8 • 1 Month Email Subsaiptions       Internet • Software             EGCC            50.80                            40.64            10.16
Check             12/09/2022 ach         Madwire              December Services                    CRM & Websites                  EGCC          1,499.05                     1,199.24              299.81
Check             12/09/2022 ach         Madwire              December Services                    CRM & Websites                  EGCC           467.50                        374.00               93.50
General Journal   12/14/2022 934         Paychex              Payroll, Feea, & Taxes               Salaries • Call Cenler          EGCC            48,15                            38,52               9.63
General Journal   12/15/2022 935         Paychex              Payroll, Fees, & Taxes               Salaries • Call Center          EGCC            (48.15)                      (38.52)                 (9.63)
General Journal   12/18/2022 936         Paychex              Payroll, Feea, & Taxes               Salaries • Call Center          EGCC         65,155.21                    52,124.17           13,031 .04
General Journal   12/16/2022 938         Paychex              Payroll, Fees, & Taxes               Salarlea • Call Center          EGCC         28,760.46                    23,008.37            5,752.09
General Journal   12/16/2022 938         Paychex              Payroll. Fees, & Taxes               Salaries • Call Cenler          EGCC          8,192.17                     6,553.74            1,638.43
General Journal   12/18/2022 936         Paychex              Payroll, Fees, & Taxes               Salaries • Call Center          EGCC           978.46                        782.77              195.69
General Journal   12/16/2022 936         Paychex              Payroll, Fees, & Taxes               Insurance • Workers Comp        EGCC             80,59                           64.47            16.12
General Journal   12/16/2022 936         Paychex              Payroll, Fees, & Taxes               Payroll Service Fees            EGCC           643.00                        674.40              168.60
General Journal   12/16/2022 938         Paychex              Retirement Service Fees              Payroll Service Fees            EGCC            92.69                            74.15            18.54
General Journal   12/1612022 938         Paychex              Monthly Premium                      lnsurnace . Cyber               EGCC             30.00                           24 .00              6 .00
General Journal   12/16/2022 939         YouCanBookMa         Monthly Subscription (4 Calendars)   Compuler/lnlernet • Calendars   EGCC            28.00                            22.40               5,60
General Journal   12/16/2022 939         YouCanBoakMe         Monthly Subscription (7 Calendars)   Computer/Internet • Calendars   EGCC            49.00                            39.20               9,80
General Journal   12/16/2022 939         GoDaddy              1 • 1 Month Email Subsctiption       lnlernet • Software             EGCC                6.35                          5,08               1.27
Check             12/16/2022 ach         Voice Data Systems   System Configuration                 RI Telephone                    EGCC          1,400.00                     1,120.00              280.00
General Journal   12/16/2022 937         Paychex              Payroll, Fees, & Taxes               Salaries • Call Center          EGCC             24.62                           19.70               4.92
General Journal   12/16/2022 937         Paychex              Payroll, Fees, & Taxes               Payroll Service Fees            EGCC           466,08                        372.86               93.22
General Journal   12/16/2022 938         Paychex              ERISA Bond                           lnsurnace • Lleblllty           EGCC            127.00                       101.60               25.40
Check             12/20/2022 ech         SelecUve Insurance   Monthly Premium • December           lnsurnace • Llablllly           EGCC           378.00                        302.40               75,60
General Journal   12/20/2022 940         Paychex              Payroll, Fees, & Taxes               Salaries • Call Center          EGCC            28.72                            22.98               5.74
                                                                                                                                               108,805.35                    87,044.28           21,761 .07
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 17 of 39 PAGEID #: 3454




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Ketterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Adm ission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC 00000069.2
                          Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 18 of 39 PAGEID #: 3455
                                                       Student Resource Center, LLC
                                                                          EGCC Expense Reimbursement Report


     Tte!          Date            Num        Name                      Memo                          Account             Class   Amount          4 ~ear Allocation           Net Owed           80.0% 80.0%
General Journal   12/21/2022 956         Paychex       Payroll, Fees, & Taxes               Salaries - Call Center     EGCC              60.88                        48.70              12.18
Chaci<            12/2312022 ach         lntegrateHQ   December 2022 Monthly Saas License   Internet - Software        EGCC             500.00                    400.00             100.00
Chaci<            12/2312022 ach         Principal     January 2023 Premium                 Insurance - Dental         EGCC           2,093.72                  1,674.98             418.74
Chaci<            12/2712022 ach         Starmark      January 2023 Premium                 Insurance - Medical        EGCC          20,124.85                 16,099.88           4,024.97
General Journal   12/30/2022 963         Paychex       Payroll, Fees, & Taxes               Salaries - Call Center     EGCC          71 ,463.49                57,170.79          14,292.70
General Journal   12/3012022 963         Paychex       Payroll, Fees, & Taxes               Salaries - Call Center     EGCC          28,404.42                 22,723.54           5,680.88
General Journal   12/3012022 963         Paychex       Payroll, Fees, & Taxes               Salaries - Call Center     EGCC           3,479.96                  2,783.97             695.99
General Journal   12/30/2022 963         Paychex       Payroll, Fees, & Taxes               Salaries - Call CenIer     EGCC             378.46                    302.77              75.69
General Journal   12/30/2022 963         Paychex       Payroll, Fees, & Taxes               Insurance - Workers Comp   EGCC              75.45                        60.36              15.09
General Journal   12/30/2022 963         Paychex       Payroll, Fees, & Taxes               Payroll Service Fees       EGCC             376.92                    301.54              75.38
General Journal   01/0312023 964         Paychex       Payroll, Fees, & Taxes               Salaries - Call Center     EGCC              35.00                        28.00               7.00
                                                                                                                                    126,993.15                101,594.52          25,398.63
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 19 of 39 PAGEID #: 3456




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Ketterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC 00000081.2
                           Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 20 of 39 PAGEID #: 3457
                                                        Student Resource Center, LLC
                                                                             EGCC Expense Reimbursement Report


     rx~e          Date             Num          Name                        Memo                              Account                CIHI   Amount          4 ~ear Allocatlon           Not Owed           80.0% 80.0%
General Journal   01/0512023 966          Paychex              Payroll, Fees, & Taxes             Satartes - Cell Center           EGCC             44.56                        35.65               8.91
General Journal   01/06/2023 969          EZ Texting           Monthly Subscrtption               Computer/Internet - Texttng      EGCC             25.00                        20.00               5.00
General Journal   01/0612023 969          HelpJulca            Monthly Subscrtptlon               Computer/Internet - Software     EGCC            120.00                        96.00              24.00
General Journal   01 /0612023 969         GoDaddy              WebSecurlty (3)                    Computer/Internet• Software      EGCC             31.74                        25.39               6.35
General Journal   01/06/2023 969          GoDaddy              Email Subscription - Monthly (1)   Computer/Internet • Software     EGCC               7.41                        5.93               1.48
General Journal   01/0612023 969          GoDaddy              Email Subscription • Monthly (1)   Computer/Internet - Software     EGCC               7.41                        5.93               1.48
General Journal   01/0612023 969          GoDaddy              Email Subscription - Monthly (8)   Computer/Internet• Software      EGCC             50.80                        40.64              10.16
General Journal   01/0612023 969          GoDaddy              Domain Renewals (6)                Computer/Internet - Software     EGCC            302.97                    242.38                 60.59
Check             01/0612023 ach          Madwtre              January 2023 Services              CRM & Websites                   EGCC            467.50                    374.00                 93.50
Check             01/06/2023 ach          Madwire              January 2023 Services              CRM & Websites                   EGCC          1,499.05                  1,199.24             299.81
Check             01/06/2023 ach          Voice Data Systems   November 2022 Usage                RI Telephone                     EGCC            405.80                    324.64                 81.16
General Journal   01/09/2023 970          Paychex              Payroll, Fees. & Taxes             Salaries• Call Center            EGCC            299.52                    239.62                 59.90
General Journal   01/1012023 971          Paychex              Payroll, Foes, & Taxes             Salaries• Call Center            EGCC            253.93                    203.14                 50.79
General Journal   0111112023 972          Paychex              Payroll, Fees, & Taxes             Salaries• Call Center            EGCC            288.29                    230.63                 57.66
General Journal   0111212023 973          Paychex              Payroll, Fees, & Taxes             Salaries - Call Center           EGCC             14.94                        11.95               2.99
General Journal   0111312023 977          Paychex              Payroll, Fees, & Taxes             Salaries• Payroll Service Fees   EGCC             95.56                        76.45              19.11
General Journal   01/13/2023 974          YouCanBookMe         Monthly Subscription (4)           Computer/Internet • Calendar     EGCC             37.48                        29.98               7.50
General Journal   01/13/2023 977          Paychex              Monthly Premium                    Insurance • Cyber                EGCC             30.00                        24.00               6.00
General Journal   01/13/2023 974          GoDaddy              Email Subscription - Monthly (1)   Computer/Internet - Software     EGCC               6.35                        5.08               1.27
General Journal   01/1312023 974          GoDaddy              Email Subscription• Yearly (1)     Computer/Internet • Software     EGCC             76.20                        60.96              15.24
General Journal   01/1312023 974          GoDaddy              Domain Renewals (2)                Computer/Internet • Software     EGCC            128.59                    102.87                 25.72
General Journal   01/13/2023 975          Paychex              Payroll, Fees, & Taxes             Salaries - Call Center           EGCC         62,521 .57                50,017.26          12,504.31
General Journal   01/13/2023 975          Paychex              Payroll, Fees, & Taxes             Salaries - Call Center           EGCC         35,133.92                 28,107.14           7,026.78
General Journal   01/13/2023 975          Paychex              Payroll. Fees. & Taxes             Salaries• Call Center            EGCC         12,320.78                  9,856.62           2.464.16
General Journal   01/13/2023 975          Paychex              Payroll, Fees, & Taxes             Salartes • Catt Center           EGCC            978.46                    782.77             195.69
General Journal   01/13/2023 975          Paychex              Payroll. Fees, & Ta,ces            Insurance • Workers Comp         EGCC          1,995.70                  1,596.56             399,14
General Journal   01/1312023 975          Paychex              Payroll, Fees, & Taxes             Payroll Service Fees             EGCC          1,086.00                    868.80             217.20
General Journal   01/1712023 990          Hubspot              December Attocelion                CRM & Websites                   EGCC          5,650.00                  4,520.00           1,130.00
General Journal   01117/2023 990          Voice Data Systems   December Cloud Allocation          RI Telephone                     EGCC          5,393.36                  4,314.69           1,078.67
General Journal   0111712023 990          Voice Data Systems   December Allocation                Internet • Software              EGCC          1,072.50                    858.00             214.50
                                                                                                                                               130,345.39                104,276.31          26,069.08
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 21 of 39 PAGEID #: 3458




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academ ic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Kotterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Sch lesinger, Julie      Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC_ 00000078.2
                               Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 22 of 39 PAGEID #: 3459
                                                             Student Resource Center, LLC
                                                                                          EGCC Expense Reimbursement Report



     T~e;:         Dai.             Num                 Na me                                       Mamo                             Accouat             Claaa   Amount          • ~ear Allocation            NetOw.d            80.0% 80.0%
General Journal   01/18/2023 993          Paychex                          Payrol, Fees, &Taxes                            Salaries - CaJt Center     EGCC            31.06                          205                6.21
General Journal   0 1/19/2023 994         Paychex                          Payrol, Fees, & Taxes                           S1l1rit1 • Calt Ctnler     EGCC           137.09                      109.67              27.42
Check             01/1912023 ach          Selective Insurance              January Premium                                 U1bttityln1ur1nce          EGCC           378.00                      302-40              75.60
General Journal   01/20/2023 1002         Paychex                          Payro•. Fees, & Taxea                           Salaries - CaH Cen1er      EGCC             11.75                          9,40              2,35
Check             01/20/2023 ach          OPEIU Local 792                  January 2023                                    UntOn Cues                 EGCC           440.00                      352.00              88.00
General Joumal    01/24/2023 1005         Paychex                          PayroN, Fees, &Tax11                            Salaries . Call Center     EGCC             10.H                           8.11              2.03
General Joumal    01/24/2023 1006         Paychex                          Payrol, Fees, & Ta,cea                          Salariu • CaM Cenler       EGCC                7.47                        5.98              1.49
Check             01/25/2023 ach          Virginia Empk>yment Commi11lon   Payrol, Fees. & Taxes VA Unempk)ymenl 02 2022   PayroH Feu:Taxes           EGCC            85.54                          68.43           17.11
Check             01/25/2023 ach          Virginia Employment Commission   Payro•, Fees, & Taxes VA Unempwyment Q3 2022    Payroll Feu:Taxes          EGCC            132.86                     106.29              26.57
Check             01/25/2023 ach          Virginia Empk>yment Comml11lon   Payroi, Fen. & Taxu VA Unemploymenl 04 2022     Payroll Fees:Taxes         EGCC           218.40                      174.72              43.68
General Journal   01/2712023 1009         Paychex                          Payrol, Fees, & Taxes                           Salariea - Call Center     EGCC         66,999.22                  53,599.38          13,399.84
General Journal   01/2712023 1009         Paychex                          Payrol, Fees, & Taxes                           Salaries - Call Center     EGCC         33,866.25                  27,093.00           6,773.25
General Journal   01/2712023 1009         Paychex                          PayroN, Fees, & Taxes                           Salariea - Call Center     EGCC          7,644.47                   6,115.58           1,528.89
General Journal   01/2712023 1009         Paychex                          PayroN, Fees, & Taxes                           Salariea - Call Center     EGCC           978,46                      782.77             195.69
General Journal   01/27/2023 1009         Paychex                          Payrol, Fees, & Taxes                           Insurance - Workers Comp   EGCC            88.54                          70.83           17.71
General Journal   01/2712023 1009         Paychex                          Payrol, Fees, &Taxes                            Payroll Service Fees       EGCC           674.40                      539.52             134.88
General Journal   01/27/2023 1011         Paychex                          PayroN, Feea, & Taxes                           Salorie, • Call Center     EGCC            69.00                          55,20           13.80
Check             01/2712023 ach          Voice Data Systems               Dectmber 2022 Usage                             RI Telephone               EGCC           322.65                      258.12              64.53
Check             01/2712023 ach          lntegrateHQ                      January S11S license                            CRM &W.bollu               EGCC           500,00                      400.00             100.00
Check             01/2712023 ach          Principal Insurance              February Premium                                Insurance - Dental         EGCC          1,806.28                   1,285.02             321.26
Check             01/30/2023 ach          Slarmtrk                         February Premium                                Insurance - medi<:al       EGCC         20,850.03                  16,680.02           4, 170.01
General Journal   01/3012023 1012         Paychex                          Payrol, Fees, & Tax11                           Salaries - Call Center     EGCC            48.58                          38.ll6             9.72
General Journal   01/3112023 1015         Paychex                          PayroN, Fees, &Taxes                            Salarie,. Call Center      EGCC            163.88                     130.94              32.74
                                                                                                                                                                  135,283.87                 108,211.10          27,052.77




                                                                                                                                                                                                                               SRC_ Otl000087
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 23 of 39 PAGEID #: 3460




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Kotterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatsch neider, Peter   SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC 00000087 .2
                               Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 24 of 39 PAGEID #: 3461
                                                             Student Resource Center, LLC
                                                                                             EGCC Expense Reimbursement Report



     TX~           Oat■            Num                           Name                                         ~•mo                        Account                c 11u   Amount           .. xear Allocatlon           Net Owed             80.0% 80.0%
General Journal   02101/2023 1017        Paychex                                              Payroff, Fees, & Taxes          S.alaries. Cal Center           EGCC          1,274.96                     1,019.97            254,99
General Journal   02/0312023 1020        EZTexting                                            Monthly Sub1orlptlon            Computer/Internet - Te,-.tlng   EGCC             25.00                           20.00               5.00
General Journal   02/0312023 1020        GoDaddy                                              Monthly Email Llcen10 (1)       Computer/Internet - Software    EGCC                6.35                          5.08               1.27
Genefll Journal   02/0312023 1020        GoOaddy                                              Monthly Emal Ucen10 (1)         Computtf/lnternet - Software    EGCC                 7.41                         5,93               1.48
General Journal   02/0312023 1020        GoOaddy                                              Monthly Emal UconH (1)          Computertlnternet - Software    EGCC                 7.41                         5.93               1.48
General Journal   02/0312023 1020        GoDaddy                                              Monthly Emal Ucen,e (8)         Computer/Internet - Software    EGCC             50,80                           40.64              10.16
Check             02/0312023 ach         Ohio Bureau of Worker, Compensation                  Account Balance 2023            ln1ur1nc1: Workers Comp         EGCC                 2.00                         1,60              0.40
General Journal   02/03/2023 1021        Paychex                                              PayrOII, Fell, & Taxtl          Salaries - CaM Center           EGCC            152.70                       122.16              30,54
General Journal   02106/2023 1022        Paychex                                              Payroll, Fu,, & Taxes           Salaries - Cal Center           EGCC             8 1.64                          65.47           16,37

Check             02/0712023 ach         Washington State Department of L•bor & lndu1tries    Unempk>ymenl 04 2022            ln1ur1nce: UnempkJyment         EGCC            412.28                       329.82              82.46
Check             02/0712023 ach         Washington State Department of Labor & lndu1tri11    Wof'kers Compenullon Q4 2022    Insurance: Wof'kers Comp        EGCC            127.29                       101.83              25.46
General Joumal    02/0812023 1023        Paychex                                              Payroll, Fee1, & Taxes          SalarlH - Cal Center            EGCC                14.99                        11,99               3.00
General Journal   02/0812023 1023        Paychex                                              Payroft. Fees. & Taxea          Salari11 • Cal Center           EGCC             35.00                           28.00               7.00

Check             02/08/2023 ach         Coklrado Department ot Revenue                       PayroM, Feea, & Taxes 02 2022   Taxes                           EGCC            143.00                       114.40              28.60
Check             02/0912023 ach         OPEIU Local 792                                      January 2023                    union Dues                      EGCC            484.00                       387.20              96,80

Check             02/09/2023 ach         Madwire                                              February 2023                   CRM&Web1l1es                    EGCC            487.50                       374.00              93.50

Check             02/0912023 ach         Madwire                                              Februory 2023                   CRM&Websl1H                     EGCC           1,499.05                     1,199.24            299.81

General Journal   02/1012023 1025        Paychex                                              PayroU, Fees, & Texts           SalarlH • Cd Cenl■r             EGCC          70,513.25                   56,410.60          14,102.65

General Journal   02/1012023 1025        Paychex                                              Payroll, Feel, & TIXH           SalarlH. Cal Ctnler             EGCC          34,420.42                   27,536.34           6,884.08

General Journal   02/1012023 1025        Paychex                                              PayroU, Fees, & Taxes           S1larl11. Cal Center            EGCC          7,871.40                     6,297.12           1,574.28
General Journal   02/1012023 1025        Paychex                                              Payrou, Fell, & T■XH            Salaries - Cal Center           EGCC            978.46                       782.77             195,69

General Journal   02/1012023 1025        Paychex                                              PayroU, Fees, & Taxes           Insurance - Workers Comp        EGCC             96.76                           77.41              19.35

General Journal   02/1012023 1025        Paychex                                              Payroll. F111. &Taxes           Payrol Sttvfct FtH              EGCC            868.00                       694.40             173.60

General Journal   02/1312023 1028        EZTeX11ng                                            Monthly Subscription            Computer/lntemet:Te.xllng       EGCC             42.00                           33,60               8.40
General Journal   02/1312023 1029        Paychex                                              Payroll, Fees, & TIXII          Salaries - Cal Center           EGCC                27.80                        22.24               5.56
                                                                                                                                                                           119,609.67                   95,687.74          23,921.93




                                                                                                                                                                                                                                          sRc 0H0Boos4
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 25 of 39 PAGEID #: 3462




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Kotterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC_00000084.2
                                    Case: 2:22-cv-02653-ALM-CMV DocStudent
                                                                     #: 110-3    Filed: 06/13/24 Page: 26 of 39 PAGEID #: 3463
                                                                           Resource Center, LLC
                                                                                                     EGCC Expense Reimbursement Report



     Tn.!          Oat•            Num                    N•m:                                            Memo                                     Account             ClaH   Amount          4 ~Hr AUocation            Net Owed            80.0% 80.0%
General Journal   02115/2023 1031        Paychex                            Payroll. Fees, & Taxes                                       S•larfn - Call Center      EGCC            21.05                       16.8<1              4.21
General Journal   02116/2023 1032        Paychex                            Payroll, Fees. & Ta.xet                                      Salaries - Caff Center     EGCC            2g_84                       23.71               5_g3
General Journal   02116/2023 1032        Paychex                            Pay,oll, Fees, & Taxes                                       Salar1u - Call Center      EGCC            93.70                       74.96           18.74
General Journal   02116/2023 1032        Paychex                            Payroll, FHI, & Taxes                                        Salaries - Call Center     EGCC               8,74                      8.99               1.75
General Journal   02/16/2023 1032        Paychex                            Payroll, Fees, & Taxes                                       Salaries - CaJI Center     EGCC               7.70                      6.16               1.54
General Journal   02116/2023 1032        Paychex                            Payroll. Fees, & Taxes                                       SalariH - Call Center      EGCC            16.57                       13.28               3.31
General Journal   02118/2023 1032        Paychex                            Payroll, Fees, & Tnes                                        Salaries • Call Center     EGCC               8.68                      6.93               1.73
General Journal   02117/2023 1034        Paychex                            Payroll, Feet. & Taxn                                        Salaries - Call Center     EGCC            35.12                       28.10               7.02
General Journal   02/17/2023 1034        Paychex                            PayroM, Foes, & Taxes                                        Saleirles - Call Center    EGCC            70.00                       56.00            14.00
General Journal   02117/2023 1034        Paychex                            Pay,oH, FHI, & Taxes                                         Salaries• Call Center      EGCC            20.00                       16.00               4.00
General Journal   02117/2023 1034        Paychex                            PayroU, Fees, & Taxes                                        Salaries - Call Center     EGCC            32.59                       28.07               6.52
General Journal   02117/2023 1036        Paychex                            February 2023 Premium                                        Insurance - Cyber          EGCC            30.00                       24.00               6.00
General Journal   0211712023 1036        P11ychex                           February 2023 Feet                                           Payroll Feet               EGCC          107.39                        85.91           21.48
General Journal   0212112023 1037        Paychex                            Payrotl, FeH, & TaxH                                         Stlarfes - Cell Center     EGCC            21.35                       17.08               4.27
General Journal   02121/2023 1037        Paychex                            PayroH, Fees, & TaxH                                         Sa&arln- CaH Centtr        EGCC            35.00                       28.00               7.00
General Journal   02/21/2023 1037        Paychex                            Payroll, Fen, & Taxes                                        S1$1rlet- CaM Center       EGCC            41.78                       33.42               8.38
General Jou,nal   02121/2023 1037        Paychex                            Payroll. Feet, & Taxet                                       Salaries - Catt Center     EGCC            83.40                       68.72            16.88
General Journal   02/21/2023 1037        Paychex                            Payroll, Fees, & TaxH                                        S1l1rfn - C1II Center      EGCC           405.40                   324.32              81.08
Check             02122/2023 ach         Selectlve l nturance               February 2023 Premium                                        lnsuranc. - LiabiNty       EGCC           378.00                   302.40              75.60
General Journal   02122/2023 1045        Hubapot                            January Allocatlon                                           CRM&Webslt"                EGCC         5.650.24                 4,520.19            1,130.05
General Journal   0212212023 1045        Slack                              January Cloud Aloe.Ilion                                     Computer • Software        EGCC         1.072.50                   858.00             214.50
General Journal   02122/2023 1045        Voice Data Systems                 January Allocation                                           RI Telephone               EGCC         5.197.07                 4.157.86            1,039.41
General Journal   02123/2023 1051        Paychex                            Payroll. Fees, & Taxe,                                       Salarln - Call Center      EGCC            19.22                       15.38               3.84
Gene,al Journal   02/23/2023 1052        GoDaddy                            Emall SublcripOon (1 - 1 Month Renewal)                      Computer- Software         EGCC               6.35                      5.08               1.27
General Journal   02123/2023 1052        GoDaddy                            Email Subscrtpllon (1 - 1 Month Renewal)                     Computer - Software        EGCC               7.57                      8.06               1.51
General Journal   02123/2023 1052        GoOaddy                            Emall Subscription (1 -1 Yeu Renewal)                        Computer - Software        EGCC            76.20                       60,g<l           15.24
General Journal   02/23/2023 1052        GoDaddy                            Emal! Subscription (1 - 1 Year Renewal)                      Computer - Software        EGCC            78.20                       60.96            15,24
General Journal   02123/2023 1052        OoDaddy                            Email Subscrtpllon (1 • 1 Year Renewef)                      Computer - Software        EGCC            76.20                       ao_gs            15.24
General Journal   02123/2023 1052        GoOaddy                            Emall Subtcrfption (1 -1 Year Renewal)                       Computer - Software        EGCC            76.20                       80.gs            15.24
Geneu1I Joumal    02/2312023 1052        GoDaddy                            Emall Subtcrtptlon (1 -1 Year Renewal)                       Computer • Software        EGCC            76.20                       60,g<l           15.24
General Journal   02123/2023 1052        GoDaddy                            Emell Subscription (1 - 1 Year Renewal)                      Computer - Software        EGCC            78.20                       60.96            15,24

General Journal   02/23/2023 1052        GoDaddy                            Emoll Sublcrlptlon (1 • 1 Yur Rentwll)                       Computer - Software        EGCC            78,20                       60.96            15.24
General Journal   02/23/2023 1052        GoDaddy                            Emall Sublcrlpdon (1 -1 Year Renewal)                        Compu1er - Softwa1e        EGCC            76.20                       60.96            15.24
Check             02123/2023 ach         Virginia Employment Cornmlsllon    Payroll, Fen, & Tans F111 for 03 & 0 4 2021 & 01 & 02 2022   TaxH                       EGCC           477.22                   381.78              g5_44
Check             02124/2023 •ch         VolC41 Data Sy1te11"11             January 0111 U11ge                                           Tetephone                  EGCC           398.38                   318.89               79.67
General Joumel    0212412023 1053        GoDaddy                            Email Subscription (1 - 3 Month Renewal)                     Computer - Softwrue        EGCC            33.71                       28.97               6.74
General Journal   02124/2023 1053        GoDaddy                            Email Subscription (1 -1 Year Renewaf)                       Computer - Software        EGCC            76.20                       60.96            15,24
Gene,al Journal   0212412023 1054        Paychex                            Pay1oll. Fus, &Taxes                                         Salaries - Call Center     EGCC        87.680.13                54.128.10           13.532,03
Gene,al Journal   0212412023 1054        Paychex                            Payroll. Fees, &Taxes                                        Salaries - Call Cente,     EGCC        33_121.g8                26.977.58            6,744.40
General Journal   02124/2023 1054        Paychex                            Payroll, FHS, & Taxes                                        Sal1rl11 • Call Center     EGCC         7.545,09                 6.038.07            1_5og_o2
General Journal   02124/2023 1054        Paychex                            Payroll, Fees, & Taxes                                       SalarlH - Call Center      EGCC           978.46                   782.77              195.89
General Journal   02124/2023 1054        P11ychex                           Payroll. Fen, & Tans                                         lnturance - Workers Comp   EGCC           114.73                       91.78            22.95
General Journal   02124/2023 1054        Paychex                            Payroll. fell, &TU:H                                         PayroN Service FeH         EGCC           843.00                   874.40              168.60

Check             02127/2023 ach         Slarmark                           March 2023 Mtdlcel Prtrrium                                  Insurance - Heakh          EGCC        18.717.70                13,374.16            3,343.54
Check             02128/2023 ach         Principal                          March 2023 Dentall\/i1lon Pretnum                            Insurance - Dental         EQCC         2 .020.48                 1,616.37            404.09
Check             02128/2023 ach         Washington Oepartmenl of Revenue   04 Taxff UI Celculatlon Adju1tment                           Taxes                      EGCC            23.1g                       18.55               4.8<1
                                                                                                                                                                               144.8 18.87              115.695.10           2U23.77




                                                                                                                                                                                                                                            SRC 6·m1Boogo
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 27 of 39 PAGEID #: 3464




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Ana lyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Kotterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               Genera l Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC 00000090.2
                            Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 28 of 39 PAGEID #: 3465
                                                         Student Resource Center, LLC
                                                                              EGCC Expense Reimbursement Report


     ri~e          Date            Num        Name                           Memo                               Account           Claaa   A mount          4 ~•ar Allocatlon           Net Owed           80.0% 80.0%
General Journal   03/01/2023 1060        Paychex           Payroll, Fees, & Taxes                     Salaries • Call Canter    EGCC           206.57                      165.26             41.31
General Journal   03/03/2023 1061        GoDaddy           Email Subscription (1 • 1 Monlh Renewal)   Compuler • Software       EGCC                7.41                        5.93               1.48
General Journal   03/03/2023 1061        GoDaddy           Email Subscription (1 • 1 Month Renewal)   Computer• Software        EGCC                7.41                        5.93               1.48
General Journal   03/03/2023 1061        GoDeddy           Email Subscription (1 • 1 Month Renewal)   Computer• Software        EGCC                6.06                        4.85               1.21
General Journal   03/03/2023 1061        E1Texting         Monthly Subscription                       Computer- Textlng         EGCC            25.00                          20.00              5.00
General Journal   03/03/2023 1061        Helpjulce         Monthly Subscription                       Computer• Software        EGCC           120.00                          96.00          24.00
General Journal   03/03/2023 1062        Paychex           Payroll. Fees. & Taxes                     Salaries • Call Center    EGCC            43.69                          34.95              8.74
Check             03/03/2023 ach         OPEIU Local 792   February 2023                              Union Dues                EGCC           484.00                      387.20             96.80
General Journal   03/06/2023 1063        Paychex           Payroll, Fees. & Taxes                     Salaries• Call Center     EGCC           160.01                      128.01             32.00
General Journal   03/07/2023 1064        Paychex           Payroll, Fees, & Taxes                     Salaries • Call Center    EGCC           633.50                      506.80             126.70
General Journal   03/08/2023 1066        Paychex           Payroll, Fees, & Taxes                     Salaries - Call Cenler    EGCC           408.89                      327.11             81.78
General Journal   03/0912023 1068        Paychex           Payroll, Fees, & Taxes                     Salaries - Call Center    EGCC           134.76                      107.81             26.95
General Journal   03/1012023 1061        GoDaddy           Email Subscription (9 • 1 Month Renewal)   Compular • Software       EGCC            67.75                          54.20              13.55
Check             03/10/2023 ach         Madwire           Mach 2023                                  CRM & Websttes            EGCC          1,966.55                   1,573,24            393.31
Check             03/1012023 sch         IntegrateHQ       Mach 2023                                  CRM & Websites            EGCC           500.00                      400.00             100.00
General Journal   03/10/2023 1083        Paychex           Payroll, Faes, & Taxes                     Salaries • Call Center    EGCC         67,664.89                  54,131.91          13,532.98
General Journal   03/1012023 1083        Paychex           Payroll, Fees, & Taxes                     Salaries • Call Center    EGCC         33,265,06                  26,612.05           6,653.01
General Journal   03/10/2023 1083        Paychex           Payroll, Fees, & Taxes                     Salaries • Call Canter    EGCC          7,157.49                   5,725.99           1,431.50
General Journal   03/10/2023 1083        Paychex           Payroll, Fees, & Taxes                     Salarlas • Call Center    EGCC           978.46                      782.77             195.69
General Journal   03/10/2023 1083        Paychex           Payroll, Faes, & Taxes                     Insurance• Workers Comp   EGCC           229.96                      183,97             45.99
General Journal   03/10/2023 1083        Paychex           Payroll, Faes, & Texas                     Payroll Service Fees      EGCC           868.00                      694.40             173.60
General Journal   03/13/2023 1086        Paychex           Payroll, Fees, & Taxes                     Salaries - Call Canter    EGCC           320.16                      256.13             64.03
General Journal   03114/2023 1089        Paychex           Payroll, Fees, & Taxes                     Salaries • Call Center    EGCC           406.24                      324.99              61.25
                                                                                                                                            115,661.86                  92,529.49          23,132.37
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 29 of 39 PAGEID #: 3466




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Kotterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatsch neider, Peter   SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC 00000093.2
                                Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 30 of 39 PAGEID #: 3467
                                                              Student Resource Center, LLC
                                                                                                EGCC Expense Reimbursement Report



      TXa=          Date            Num           Name                                          ~mo                                      Accsunt             c1as•   Amount          , :a:•r ~joca1lon           NetOWlld            80.0% 80.0%
General Journal    03/15/2023 1077        Hublpot                 February Alloc1Uon                                           CRM & Weblit.H             EGCC          5,682.06                   4,545.65           1,136.41
General Journal    03/1512023 1077        Slack                   February Cloud AJtocation                                    Computer. Software         EGCC           1,072.50                    858.00            214.50
General Journal    03/15/2023 1077        Voice Data System,      F ebruaty AllocaOon                                          RI Telephone               EGCC           5,403.60                  4,322.80           1,080.70
General Journal    03/15/2023 1090        Paychex                 Payrotl, Feet, & TaxH                                        S1larl11 • Call Center     EGCC            103.85                         83,08          20.77
General Journal    03/1712023 1091        Paychex                 Cyber ln1ur1nce                                              Insurance• Cyber           EGCC             30.00                         24.00              6.00
General Journal    03/17/2023 1091        Paychex                 Retirement Insurance Fee,                                    PayroK Service F111        EGCC            111.83                         89.46          22.37
General Journal    03/17/2023 1092        GoDaddy                 Email Subs<nptlon (1 • 1 Month Renewal)                      Computer• Software         EGCC             16.95                         13.56              3.39
General Journal    03/17/2023 1092        YouCanBook.Me           Monl"'Y Subac,lptlon (1 Calendar)                            Computer- Ca~ndara         EGCC                0.81                        0.49              0,12
General Journal    03/17/2023 1092        YouCanBookMe            MontNy Subscripllon (4 Calendars)                            Computer • Ca~ndara        EGCC             42.00                         33.80              8.40
Check              03/17/2023 ach         Selecil.,.e lnsur■nce   Much 2023 Premium                                            Insurance• U1blkty         EGCC            378.00                     302.40             76.80
General Journal    03/1712023 1093        Paychex                 Payroll. Fees, & Taxes                                       s,tann • Coll Contor       EGCC            158.08                     126.48             31.82
General Journal    03/21/2023 1098        Paychex                 Payroll, Fees, & TaxH                                        SalarfH - Call Center      EGCC            121.88                         97.50          24.38
General Journal    0312212023 1099        Paychex                 Payroll, Fees, & Taxes                                       Salaries. Call Center      EGCC            380.88                     304,70             76.18
Check              03/24/2023 ach         Voice 0111 Sy11em1      February 2023                                                Teleohone                  EGCC            299.40                     239,52             59,88
General Jourital   03/2412023 1102        Paychex                 PayroN, Fee ■, & Taxes                                       Salaries - Call Center     EGCC         70,387.55                  58,310.04          14,077.51
General Journal    03/24/2023 1102        Paychex                 Payroll, Fees, & Taxes                                       Salaries - Call Center     EGCC          32,720.34                 26,176.27           6,544.07
General Journal    03/24/2023 1102        Paychex                 Payroll, Fees, & Taxes                                       S1l1rf11 - Call Center     EGCC           3,985.56                  3,188,45             797.11
General Journal    03124/2023 1102        Paychex                 PayroU, F111, & Taxes                                        Salaries. Call Center      EGCC            978,46                     782.77             195.69
General Journal    03/24/2023 1102        Paychex                 Payrofl, Fee,, & Taxes                                       Insurance • Workers Comp   EGCC             98.48                         78.78              19.70
General Journal    03/24/2023 1102        Paychex                 Payr~I. Fees. & Tax11                                        Payroll SeMCe Fe11         EGCC            843,00                     874,40             168,60
General Journal    03/24/2023 1102        Paychex                 PayroU, Fees, & TIXH                                         Salaries - can Center      EGCC            320.18                     256.13             84,03
General Journal    03/27/2023 1104        Paychex                 PayroU, Fees, & TaxH                                         Salaries - CaM Center      EGCC             35,00                         28.00              7.00
General Journal    03/2712023 1107        G0DIddy                 Email Subscnption (2 - 1 Yur Renewal• & 1- 1 Mon1h RenewIQ   Computer• Software         EGCC            185.24                     148.19             37.05
General Journal    03/27/2023 1107        GoOaefdy                Emili Subscription (1 - 1 Month RenewaQ                      Computer - Software        EGCC                7,41                        5.93               1.48
General Journal    03/2812023 1106        Paychex                 Payrofl, Fees, & Tu:t1                                       Salaries - Cati Center     EGCC            100,33                         80.26          20.07
                                                                                                                                                                       123.463,07                 98,770.46          24,692.81




                                                                                                                                                                                                                                    SRC ol)oti0096
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 31 of 39 PAGEID #: 3468




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Kotterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Sch lesinger, Julie      Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC_ 00000096.2
                            Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 32 of 39 PAGEID #: 3469
                                                         Student Resource Center, LLC
                                                                              EGCC Expense Reimbursement Report


     T~~e          Date            Num          Name                           Memo                              Account             Class   Amount          4 ~e■r Allocatlon           Net Owed            80.0% 80.0%
General Journal   03129/2023 1110        Paychex            Payroll, Fees, & Taxes                     Salartes - Call Center     EGCC             58,89                         47.11              11.78
General Journal   03129/2023 1111        GoDaddy            Email Subscription (9 • 1 Month Renewal)   Computer - Software        EGCC             67.75                         54.20              13.55
General Journal   03/2912023 1112        EzTextlng          Monthly Subscription                       Computer- Textlng          EGCC             25.00                         20.00              5.00
General Journal   0312912023 1112        HelpJulce          Monthly Subscription                       Computer• Software         EGCC            120.00                         96.00          24.00
Check             03/31/2023 ach         Integrate HQ       Saas License - April 2023                  CR M & Websites            EGCC           500.00                      400.00             100.00
General Journal   03/31/2023 1113        Paychex            Payroll, Fees, & Taxes                     Salaries• Call Center      EGCC             54.63                         43.70              10.93
General Journal   04/03/2023 1115        Paychex            Payroll, Fees, & Taxes                     Salaries - Call Center     EGCC             15.20                         12.16               3.04
Check             04/03/2023 ach         Starmark           April 2023 Health Premium                  Insurance • Medicel        EGCC         18,444.34                  14,755.47           3,688.87
Check             04/0312023 ach         Principal          April 2023 DentalNlsion Premium            Insurance • Dental         EGCC          2 ,015.54                  1,612.43            403.11
General Journal   04/05/2023 1116        Paychex            Payroll, Fees, & Taxes                     Salartes • Call Center     EGCC             35,00                         28.00               7.00
General Journal   04/06/2023 1117        Paychex            Payroll. Fees, & Taxes                     Salaries - Call Center     EGCC            375.00                     300.00              75.00
Check             04/07/2023 ach         OPEIU Local #792   March Union Dues                           Union Dues                 EGCC           484.00                      387.20              96.80
Check             04/0712023 ach         Madwire            April Service                              CRM & Websites             EGCC          1,966.55                   1,573.24            393.31
General Journal   04/07/2023 1118        Paychex            Payroll, Fees, & Taxes                     Salaries - Call Center     EGCC         72,105.76                  57,684.61          14,421.15
General Journal   04/07/2023 1118        Paychex            Payroll, Fees, & Taxes                     Salartes - Call Center     EGCC         33,348.97                  26,679.18           6,669.79
General Journal   04/07/2023 11 18       Paychex            Payroll, Fees, & Taxes                     Salaries - Call Center     EGCC          4,072.12                   3,257.70            814.42
General Journal   04/07/2023 1118        Paychex            Payroll, Fees, & Taxes                     Salaries • Call Center     EGCC            978.46                     782.77             195.69
General Journal   04/07/2023 1118        Paychex            Payroll, Fees, & Taxes                     Insurance • Workers Comp   EGCC             90.60                         72.48              18.12
General Journal   04/07/2023 1118        Paychex            Payroll, Fees, & Taxes                     Payroll Service Faas       EGCC            843.00                     674.40             168.60
General Journal   04/07~023 1120         YouCanBookMe       Monthly Subscription                       Computer - Calendar        EGCC                2.46                        1.97               0.49
General Journal   04/07/2023 1121        Paychex            Payroll, Fees, & Taxes                     Salaries - Call Center     EGCC            (18.89)                    (15.11)                (3.78)
General Journal   04/07/2023 1121        Paychex            Payroll, Fees, & Taxes                     Salaries • Call Center     EGCC          1,107.62                     886.10            221.52
General Journal   04/10/2023 1122        GoDaddy            Email Subscription (1 - 1 Month Renewal)   Computer - Software        EGCC             16.95                         13.56               3.39
                                                                                                                                              136,708.95                 109,367.16          27,341.79
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 33 of 39 PAGEID #: 3470




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Ketterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC 00000121.2
                              Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 34 of 39 PAGEID #: 3471
                                                           Student Resource Center, LLC
                                                                                   EGCC Expense Reimbursement Report


      T~Re          Date            Num             Name                              Memo                           Account             c1■••   Amount          4 ~••r Alloc■tlon             Net Owed             80.0% 80.0%
General Journal    04/1 1/2023 1130       Hubspot               Man:h Allocation                           CRM & Websites             EGCC          5,682.06                   4,545.65             1,136.41
General Journal    04/11/2023 1130        Slack                 March Cloud Allocation                     Computer • Software        EGCC           1,072.50                    858.00              214.50
General Journal    04/11/2023 1130        Voice Data Systems    March Allocation                           RI Telephone               EGCC          5,403.50                   4,322.80             1,080.70
General Journal    04/12/2023 1139        GoDaddy               Email Subscription (2 • 1 Year Renewal)    Computer • Software        EGCC            152.39                     121.91               30.48
General Journal    04/14/2023 1143        YouCenBookMe          Monthly Subscription                       Computer • Celender        EGCC             49.00                         39.20                 9.80
General Journal    04/14/2023 1144        Paychex               Payroll, Fees, & Taxes                     Salaries • Call Center     EGCC             (34.00)                       (27.20)              (6.80)
General Journal    04/14/2023 1145        Paychex               Retrirement Service Fees                   Payroll Service Fees       EGCC            123.79                         99,03            24.76
G eneral Journal   04/14/2023 1145        Paychex               Insurance                                  lnsurance:Cyber            EGCC             30.00                         24.00                 6.00
Check              04/14/2023 sch         Selective Insurance   Liability Insurance                        lnsurance:Lieblllty        EGCC            374.00                     299.20               74.80
G eneral Journal   04/18/2023 1146        Paychex               Payroll, Fees, & Taxes                     Salaries • Cell Center     EGCC             44.79                         35.83                 8.96
General Journal    04/18/2023 1147        Paychex               Payroll, Fees, & Taxes                     Salaries • Call Center     EGCC            100.41                         80,33            20.08
General Journal    04/21/2023 1149        Paychex               Payroll. Faes, & Taxes                     Salaries • Call Center     EGCC         71,630.65                  57,304.52            14,326.13
General Journal    04/21/2023 1149        Paychex               Payroll, Fees. & Taxes                     Salaries. Call Center      EGCC         32,812.15                  26,249.72             6,562.43
General Journal    04/21/2023 1149        Paychex               Payroll, Fees, & Taxes                     Salaries• Call Center      EGCC           4,078.41                  3,262.73              815.88
General Journal    04/21/2023 1149        Paychex               Payroll. Fees, & Taxes                     Salaries • Call Center     EGCC            978.46                     782.77               195.69
General Journal    04/21/2023 1149        Paychex               Payroll, Fees. & Taxes                     Insurance• WOrt<ers Comp   EGCC             96.25                         77.00                19.25
General Journal    04/21/2023 1149        Paychex               Payroll, Fees. & Taxes                     Payroll Service Fees       EGCC            843,00                     674.40               168,60
Check              04/21/2023 ach         Voice Data Systems    March Data Usage                           Utilities: Telephone       EGCC            286.89                     229.51                   57.38
General Journal    04/24/2023 1151        Paychex               Payroll. Fees, & Taxes                     Salaries • Call Center     EGCC              11.75                         9.40                 2.35
General Journal    04/2412023 1152        YouCanBookMe          Monthly Subscription                       Computer - Calendar        EGCC                7.00                         5.60                1.40
General Journal    04/25/2023 1154        GoDaddy               Email Subscription (1 • 1 Month Renewal)   Computer • Software        EGCC                7.41                         5.93                1.48
                                                                                                                                                   123,750.41                 99,000.33            24,750.08




                                                                                                                                                                                                                   SRC_Jfbo'doogg
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 35 of 39 PAGEID #: 3472




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Ketterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC 00000099.2
                            Case: 2:22-cv-02653-ALM-CMV Doc  #: 110-3 Filed: 06/13/24 Page: 36 of 39 PAGEID #: 3473
                                                         Student Resource Center, LLC
                                                                               EGCC Expense Reimbursement Report


     T~ee          Date            Num           Name                               Memo                           Account              CIHa   Amount          4   ~••rAllocatlon            Net Owed            80.0% 80.0%
General Journal   04126/2023 1158        GoDaddy               Email Subscliptlon (1 -1 Month Renewal)   Computer . Software         EGCC               7.41                         5.93                1.48
General Journal   04126/2023 1159        HelpJulce             Monthly Subsclipllon                      Computer - Software         EGCC           120.00                          96.00            24.00
Check             04/26/2023 Och         Principal Insurance   May Insurance Pramlum                     In,urance • Oantal          EGCC          2.016,70                   1,813.38              403.34
Check             04/26/2023 ach         IntegrateHQ           April Saas License                        CRM & Wabsltes              EGCC           500.00                      400.00              100.00
Genaral Journal   05/0112023 1160        Paychex               Payroll, Fees. & Taxes                    Salaries • Call Canter      EGCC           749.50                      599.60              149.90
Check             05/0112023 ach         Starmaril, Inc        May ln,urance Premium                     ln,urance • Medical         EGCC         18,444,34                  14,755.47            3,688.87
Ganeral Journal   05/03/2023 1162        Paychex               Payroll, Feas, & Taxes                    Salariu • Call Center       EGCC            42.55                          34.04                6.51
Check             05/05/2023 ach         Madwlre               CRM Servfce1                              CRM & Websites              EGCC          1,966.55                    1,573.24             393.31
Check             05/0512023 ach         Voice Data Sy1tems    April Phone Usage                         RI Telephone                EGCC           266.72                      213.38               53.34
Check             05/05/2023 ach         OPEIU Local #792      April 2023                                Union Duu                   EGCC           528.00                      422.40              105.60
Check             05/0512023 ach         lntegrateHQ           May Saas Llcan1a                          CRM & Websltu               EGCC           500,00                      400,00              100.00
General Journal   05/0512023 1163        Paychex               Payroll, Fees, & Taxes                    Salaries • Call Centar      EGCC         70,491.99                  56,393.59           14,098.40
Ganaral Journal   05/0512023 1163        Paychex               Payroll, Fees, & Taxes                    Salariu • Call Center       EGCC         31,527.84                  25,222. 11           6,305.53
Ganeral Journal   05/0512023 1163        Paychex               Payroll, Fees, & Taxe•                    Salaries • Call Center      EGCC          4,096.36                   3,277.09              819.27
Ganerel Journal   05/05/2023 1163        Paychex               Payroll, Fees. & Taxes                    Salaries • Call Center      EGCC           978.48                      782.77              195.69
General Journal   05/05/2023 1163        Paychex               Payroll, Fee,, & Taxe,                    ln,urance • WOrilers Comp   EGCC           103.89                          63.11            20.78
General Journal   05/0512023 1163        Paychex               Payroll, Fees, & Taxes                    Payroll Service Feu         EGCC           843,00                      674.40              168.60
General Journal   05/09/2023 1165        Paychex               Payroll, Fees, & Taxe1                    Salariu • Call Centar       EGCC            82.74                          66. 19              16.55
                                                                                                                                                 133,265.85                 106,612.68           26,653. 17




                                                                                                                                                                                                                    ooo'1 ooa1
                                                                                                                                                                                                                sRc p
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 37 of 39 PAGEID #: 3474




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
 Ketterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC_00010087.2
                           Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 38 of 39 PAGEID #: 3475
                                                       Student Resource Center, LLC
                                                                    EGCC Expense Reimbursement Report


     T~ie          Date          Num       Name                  Memo                          Account               Class   Amount           4 ~ear Allocation             Net Owed            80.0% 80.0%
General Journal   0511012023 1182      Paychex        Payroll, Fees, & Taxes       Salaries - Call Center         EGCC              35.00                         28.00                 7.00
General Journal   05112/2023 1183      YouCanBookMe   Monthly Subscription         Computer/Internet• Calendar    EGCC              49.00                         39.20                 9.80
General Journal   0511212023 1184      Paychex        Retirement Service Fees      Payroll Service Fees           EGCC             127.16                     101 .73                  25.43
General Journal   05/1212023 1184      Paychex        Cyber Insurance Fees         lnsurance:Cyber                EGCC              30.00                         24.00                 6.00
General Journal   05117/2023 1186      Paychex        Payroll, Fees, & Taxes       Salaries • Call Center         EGCC                15.54                       12.43                 3.1 1
General Journal   05/19/2023 1187      Paychex        Payroll, Fees, & Taxes       Salaries - Call Center         EGCC                19.22                        15.38                3.84
General Journal   05119/2023 11 88     GoDaddy        1 Month Email Subscription   Computer/Internet - Software   EGCC                16.95                        13.56                3.39
General Journal   05/19/2023 1188      GoDaddy        1 Year Domain Renewal        Computer/Internet - Software   EGCC              22.17                         17.74                 4.43
General Journal   05/19/2023 1188      YouCanBookMe   Monthly Subscription         Computer/Internet - Calendar   EGCC                 7.00                        5.60                 1.40
General Journal   05/19/2023 1189      Paychex        Payroll, Fees, & Taxes       Salaries• Call Center          EGCC          72,614.99                  58,091 .99           14,523.00
General Journal   05/1912023 1189      Paychex        Payroll, Fees, & Taxes       Salaries• Call Center          EGCC          31 ,545.51                 25,236.41             6,309.10
General Journal   05/19/2023 1189      Paychex        Payroll, Fees, & Taxes       Salaries• Call Center          EGCC           4,111.56                   3,289.25               822.31
General Journal   05/19/2023 1189      Paychex        Payroll, Fees, & Taxes       Salaries - Call Center         EGCC             978.46                     782.77               195.69
General Journal   05/19/2023 1189      Paychex        Payroll, Fees, & Taxes       Insurance - Wori<ers Comp      EGCC             (70.61)                        (56.49)          (14.12)
General Journal   05/1912023 1189      Paychex        Payroll, Fees. & Taxes       Payroll Service Fees           EGCC             843.00                     674.40               168.60
General Journal   05/23/2023 1191      Paychex        Payroll, Fees, & Taxes       Salaries • Call Center         EGCC            (100.33)                        (80.26)          (20.07)
                                                                                                                               110,244.62                  88,195.70            22,048.92




                                                                                                                                                                                                SRC pootr-i 0084
Case: 2:22-cv-02653-ALM-CMV Doc #: 110-3 Filed: 06/13/24 Page: 39 of 39 PAGEID #: 3476




 Auguste, Kasia           Academic Advisor
 Barbosa, Ariana          Academic Advisor
 Bell, Carole             Admission Counselor
 Bertram, Arian           Admission Counselor
 Boden, Roshalene         Academic Advisor
 Carter, Donavan          Data Analyst
 Centeio, Melissa         Academic Advisor
 Chamberlein, Paige       Director, Student Operations
 Clarke, Barbara J        Student Information Clerk
 Close, Mary              Admission Counselor
 Gamble, Marie            Academic Advisor
 Gelesky, Brooke          Academic Advisor
 Geyer, Gaye E            Admission Counselor
 Goldfarb, Michael        Director, IT
 Hachey, Ashley           Academic Advisor
 Householder, Katrina F   Admission Counselor
 Hudson, Wesley           Director, Human Resources
 Jackson, DaJahna         Academic Advisor
 Jennings, Candi          Academic Advisor PT
 Keaney, Patrick          Academic Advisor
                  '
 Kotterer, Erika          VP, Student Operations
 Macedo, Christian        Director, Enrollment Services
 Norman, Emily            Academic Advisor - PT
 Rainey, Thomas           IT Specialist
 Rawlings, Kimberleigh    Director, Accounting
 Retelle, Cecilia         Chief Operating Officer
 Reyes Mateo, Nelsy G     Academic Advisor
 Reyes, Pamela            Verification Specialist Union
 Rosa, Luis               General Manager
 Rosa, Manuela            Director, Community Partnership
 Sanders, Shane           Academic Advisor
 Schatschneider, Peter    SVP Marketing
 Schlesinger, Julie       Verification Specialist Union-SAL
 Simmons, Laquondra       Academic Advisor
 Sims, Jason              Director, Financial Services
 Stickles, Melissa M      Admission Counselor
 Sweeney, Mary            Admission Counselor
 Tluchowski, Nathan       Admission Counselor
 Turner, Marcus           Academic Advisor
 Veiga, Joao              Academic Advisor
 Weilbacher, Rebecca      Director, Marketing
 Wynne, Stephen           VP Finance




                                                                        SRC 00010084.2
